Case 1:18-cv-00427-JJM-LDA._ Document 41-9 Filed. 07/15/19 Page 1 of 9 PagelD #:.879

EXHIBIT A-4
Case 1:18-cv-00427-JJM-LDA Document 41-9 Filed 07/15/19 Page 2 of 9 PagelD #: 880 .

RECEIVED FOR RECORD
WESTERLY Rul.

RECORDING REQUESTED BY .
AND RETURN TO: Dct 22-2006 ak OFr162158
American Home Mortgage . SOUR 1581 PAGE __ 329
520 BroadhoHow Road a DOC $2 HOOIEROP

Melville, NY 11747
Attn: Pinal Documents Dept,

A.P.N.:# Map 173 Let 11
Loan No # 0001313784

 

: (Space above This Line for Recorder's Use) -
MORTGAGE MODIFICATION AGREEMENT

THIS AGREEMENT made on June 6, 2006 , by and between American Brokers
Conduit , herein designated as the BENEFICIARY, and

Katherine L Caito

 

herein designated as BORROWERS.

WHEREAS, BENEFICIARY is the holder of a certain Promissory Note executed by
BORROWERS in the total amount of $ 4,500,000.00 dated sune 6. 2006
which Note is secured by the Deed of Trust dated sune 6, 2006

 

 

 

 

recorded in the Office of the County Recorder of Washingten * in Book 1541
on Page 252 on 6-12-06 , of Official Records of said County, legally
described as follows: “Town of WesTeR]4

As described on said Deed of Trust and referred to herein.

Which has the property address of: 16 yosemite Valley Road
Westerly 02891

NOW THEREFORE, for value received, the parties hereto do modify the above referenced Note
and Deed of Trust as follows: 1. Record the correct Arm Rider that should have been recorded
with original Deed of Trust,

Nothing herein contained shall in any manner whatsoever alter, amend, modify or change any other
terms or conditions of the above referenced Note and Deed of Trust except as to the Modification
described above, nor shall any of the rights of the BENEFICIARY thereunder be specifically
prejudiced by reason of the Modification: all rights of the BENEFICIARY shall be and shall remain
in full force and effect as though this Modification had been originally specified in the original Note
and Deed of Trust.

Doc # 945676: Image: 945676.prn App# 0003313784
Case 1:18-cv-00427-JJM-LDA Document 41-9 Filed 07/15/19 Page 3 of 9 PagelD #: 881

  
  

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BOOK 1581 F

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‘OTARY ACKNOWLEDGMENT

- STATE or (Zhe
| “) SS.
COUNTY ore )

On this of Seb day of © _» 2006, before me, the undersigned
personally appeared WA UL (tte . personally known to
me {or proved to me on the basis of satisfactory evidence) to be the person (s) whose name (s) are
subscribed to the within instrument and’ acknowledged to me that they executed the same in their
authorized capacity (ies), and that by their signature(s) on the instrument, the person(s) or the
entity upon behalf of which the person(s) acted executed the instrument.

WITNESS my hand and official sea{,

a
My

Le “2 ~~ JOHNS. DIGONA
Signature Lo Notary Public
Commission

ao-™ (Notary's Name)

(This area for official notarial seal)
STATE OF NEW YORK)

SS.
COUNTY OF SUFFOLK j

On day of » 2006, before me, the undersigned personally appeared ANDREW
VALENTINE personally known to me (or proved 10 me on the basis of Satisfactory evidence) to
be the person whose name is subscribed to the within instrument and acknowledged to me that. he
executed the same in his authorized capacity (ies), and that by his signature on the instrument, the

person(s) or the entity upon behalf of which the person(s) acted executed the instrument.

WITNESS my hand and official seal.

 

JAMES SFIROUDIS
Notary Public, State of New York
; No, O1SF6114650
Signature Qualified in Queens County
Sa Name) famld §4Read0? Commission Expires Aug. 23, 2008

(This area for official notarial seal)

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ADJUSTABLE RATE RIDER ‘
(12-MTA Index - Payment aad Rate Caps)
THIS. ADJUSTABLE RATE RIDER is made this 6th day of June, 2006 and is

incorporated into and shall be deemed to amend and supplement the Morigage, Deed of Trust, or
Security Deed (the “Security Instrument") of the same date given by the undersigned (the
“Borrower”) to secure Borrower's Adjustable Rate Note (the “Note™”) to _

‘American Brokerg Conduit

 

(the “Lender”} of the same date and covering the property described in the Security Instrument and
located at: ,

16 Yosemite Valley Road, Westerly, RE 02891
(Property Address)

THIS RIDER CONTAINS PROVISIONS ALLOWING FOR CHANGES IN MY
INTEREST RATE AND MY MONTHLY PAYMENT. BECAUSE MY
INTEREST RATE WILL CHANGE MORE FREQUENTLY THAN MY
MONTHLY PAYMENT, AND BECAUSE THERE ARE LIMITATIONS ON MY
MONTHLY PAYMENT INCREASES, THE AMOUNT OF My MONTHLY
PAYMENT MAY NOT FULLY PAY THE INTEREST THAT ACCRUES. ASA
RESULT, THE PRINCIPAL AMOUNT I MUST REPAY COULD BE LARGER
THAN THE AMOUNT I ORIGINALLY BORROWED, BUT NOT MORE THAN
125.000% OF THE ORIGINAL AMOUNT (OR $ 5,628,000,00
MY INTEREST RATE CAN NEVER EXCEED THE LIMIT STATED IN THE
NOTE AND RIDER. A BALLOON PAYMENT MAY BE DUE AT
MATURITY, .

ADDITIONAL COVENANTS, In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:

A. INTEREST RATE AND MONTHLY PAYMENT CHANGES

Interest will be charged on unpaid Principal unti) the full amount has been paid. I will pay
interest at a yearly rate of 1.750 % ynti] June 30, 2006 and the initial monthly

payment provided for in the Note will be based on this rate. Commencing July 1, 2006

{ will pay interest at a yearly rate of 7-782 9% Thereafter, the interest rate I will pay may
change in accordance with Section 4 of the Note,

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Page | of §  AHIM2029 (MULT) (0708)

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; ; ; BOOK 1881 page 333
Section 4 of the Note provides for changes in the mtcrest rate and monthly payment as follows:

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES
(A) Change Dates —

The interest rate I will pay may further change on the _ 1st day of
August, 2006 , and on that day every month thereafter. Each such date

on which my interest rate could change is called a “Change Date,”
(B) The Index

On each Change Date, my interest rate will be based on an Index. The “Index” is the Twelve-
Month Average, determined as set forth below, of the annual ytelds on actively traded United
States Treasury Securities adjusted to a constant maturity of one year as published by the Federal
Reserve Board in the Federal Reserve Statistical Release entitled “Selected interest Rates {H. 15)"
(the “Monthly Yields”), The Twelve-Month Average is determined by adding together the
Monthly Yields for the most recently available twelve months and dividing by [2.

The most recent Index figure available as of the date 1$ days beforé each Change Date is
called the “Current Index”,

If the Index is no longer available, the Note Holder will choose a new index which is based
upon comparable information. The Note Holder will 8ive me notice of this choice.

(C) Interest Rate Change

Before cach Change Date, the Note Holder will calculate my new interest tate by adding

~thres_and One Bighth- percentage points
3.125... % (“Margin”) to the Current [ndex. The Note Holder will then round the result of

 

Stated in Section 4(D} below, this rounded amount will be my new interest rate until the next
Change Date, In the event a new Index is selected, pursuant to paragraph 4(B), a new Margin will
be determined. The new Margin will be the difference between the average of the old Tadox for the
most recent three year period which ends on the last date the Index wags available plus the Margin
on the last date the old Index was available and the average of the new Index for the Most recent
three year period which ends on that date (or if not available for such three year period, for such
time as it is available). This difference will be rounded to the next higher 1/8 of 1%,

(D} Interest Rate Limit

My interest rate will never be Breater than 9,950 % (“Cap”), except that following
any sale or transfer of the Property which sccures repayment of this Note after the first interest rate
Change Date, the maximum interest rate will be the higher of the Cap or 5 percentage points
greater than the interest rate in effect at the time of such salu or transfer.

(E) Payment C hange Dates

Effective cvery year commencing = August 4st, 2007 __» and on the
sane date cach twelflh month thercaRer (“Payment Change Date”), the Note Holder will determine
the amount of the monihly payment that would be sufficient to repay the projected Principal
balance I am expected to owe as of the Payment Change Date in full on the maturity date at the

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BOOK isa, PAGE = 334

payment, subject to Section 4(F} below, and F will make payments in the new amount until the next
Payment Change Date unless my payments are changed earlier under Scction 4(H) of the Note,

(F) Monthly Payment Limitations

Unless Section 4(H) and 4(D below apply, the amount of my new monthly payment, beginning

‘with a Payment Change Date, will be limited to 7 4% more or less than the amount I have been

' paying. This payment cap applies only to the principal and interest payment and docs not apply to
any escrow payments Lender may require under the Security Instrument.

(G) Changes in My Unpaid Principal Due to Negative Amortization or Accelerated
Amortization

Since my initial monthly payment will be based on the Initial Rate, which may be different
than the Subsequent Rate, my inttial monthly payment could be less or greater than the umount of
the interest. portion (the “Interest Portion”) of the monthly principal and interest payment that
would be sufficient to repay the unpaid Principal I owe in full on the maturity date in substantially
equal payments. Additionally, since my payment amount changes Jess frequently than the interest
rate and since the monthly payment is subject to the payment limitations described in Section A(r),
my monthly payment could be less or greater than the amount of the Interest Portion, For each
month that the monthly payment is less than the Interest Portion, the Note Holder will subtract the
monthly. payment from the amount of the Interest Portion and will add the difference to my unpaid
Principal, and interest will accrue on the amount of this difference at the current interest rate. For
each month that the monthly payment is greater than the Interest Portion, the Note Holder will’
apply the excess towards a Principal reduction of the Note.

(KH) Limit on My Unpaid Principal; Increased Monthly Payment

My unpaid Principal can never exceed a maximum amount equal to 225.000% of the
principal amount originally borrowed. In the event my unpaid Principal would otherwise exceed
that 125, 000% limitation, | will begin paying a new monthly payment until the next Payment
Change Date notwithstanding the 74% annual payment increase limitation. The new monthly
payment will be an amount whieh would be sufficient to repay my then unpaid Principal in full on
the maturity date at the interest rate in ¢ffect one month prior to the payment due date in
substantially equal payments.

(OH Required Full Monthly Payment

On the Five anniversary of the due date of the first monthly payment, and on that
same day every Five year thereafter, the monthiy payment will be adjusted without
tegard to the payment cap limitation in Section 4(F).

(J) Notice of Changes

The Note Holder will deliver or mail to meé a notice of any changes in the amount af my
monthly payment before the effective date of any change, The notice will include information
required by law to be. given me and also the title and telephone number of a person who will
answer any questions | may have regarding the notice.

(K) Failure to Make Adjustments

If for any reason Note Holder fails to make an adjustment to the interest rate or payment
amount as described in this Note, tepardiess of any notice requirement, ] agree that Note Holder

. May, upon discovery of such failure, then make the adjustment as if they had been made on time. |
also agree not to hotd Note Holder responsible for any damages to: me which may result from Note

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Holder’s failure to make the adjustment and to Jet the Note Holder, at its option, apply any excess
monies which ] may have paid to partial prepayment of unpaid Principal,

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B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Section [8 of the Security Instrument is amended to read ag follows:

Transfer of the Property or.a Beneficial Interest in Borrower. As used in this
Section 18, “Interest in the Property” means any legal or beneficial interest in the Property,
including, but not limited to, these beneficial interests transferred in a bond for deed,
contract for deed, installment sales contract or escrow agreement, the intent of which is the
transfer of title by Borrower at a future date to a purchaser. If al] or any part of the Property
or any interest in the Property is sold or transferred (or if'a beneficial interest in Borrower is
solid or transferred and Borrower is not a natural person) ‘without Lender’s prior written
consent, Lender may require immediate payment in full of all sums secured by this Security |
Instrument. However, this option shall not be exercised by Lender if exercise is prohibited
by Applicable Law. Lender also shall not exercise this option if: (a) Borrower causes to be
submitted to Lender information required by Lender to evaluate the intended transferee as if
a new loan were being made to the transferee; (b) Lender reasonably determines that
Lender's security will not be impaired by the loan assumption and that the risk of a breach
of any covenant or agreement in this Security Agreement or other obligations related to the
Note or other loan document is acceplable to Lender, (c) Assuming party executes
Assumption Agreement acceptable to Lender at its sole choice and discretion, which
Agreement may include an increase to Cap as set forth below and (d) payment of
Assumption Fee if requested by Lender,

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as
a condition to Lender’s consent to the loan assumption, and Lender may increase the
maximum interest rate limit to the higher of the Cap or 5 percentage points greater than the
interest rate in effect at the time of the transfer. Lender may also require the transferee to
sign an assumption agreement that is acceptable to Lender and that obligates the transferee
to keep all the promises and agreements made in the Note und in this Security Instrument,
Borrower will continue to he obligated under the Note and this Security Instrument unless *
Lender has entered into a writien assumption agreement with transferee and formally
releases Borrower,

If Lender exercises this option, Lender shall give Borrower notice of acceleration.
The notice shall provide a period of not less than 30 days from the date the notice is given
in accordance with Section 15 within which Borrower must pay all sums secured by this
Security Instrument, If Borrower fails to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by this Security Instrument without
further notice or demand on Borrower:

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Adjustable Rate Rider. Borrower agrees to execute any document necessary to reform this
Agreement to accurately reflect the terms of the Agreement between Borrower and Beneficiary or

_1€the original Note, Trust Deed or other document is lost, mutilated or destroyed.

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